Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 1 of 23

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA CR. NO. 1:23-CR- '*3

Vv. (Judge conve)
DEVONTE BETTS, : D
LAMARR WATERS, FILED oA
RODNEY MCMILLIAN, and : HARRISB ’
TYREESE NEALY, JUN -7 2023

Defendants. ten

ee
PER DEPUTY CLERK
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1
21 U.S.C. § 846

(Conspiracy to Distribute Controlled Substances)
Beginning on or about August 38, 2022, up to and including May
10, 2023, in Dauphin County, within the Middle District of

Pennsylvania and elsewhere, the defendants,

DEVONTE BETTS,
LAMARR WATERS,
RODNEY MCMILLIAN, and

TYREESE NEALY,

did intentionally and knowingly unlawfully combine, conspire,
confederate and agree with persons known and unknown to the grand

jury, to distribute and possess with the intent to distribute Fentanyl, a

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 2 of 23

Schedule IT controlled substance, and 50 grams and more of
Methamphetamine, a Schedule II controlled substance.

In furtherance of this conspiracy and to effect and accomplish the
objects of it, one or more of the conspirators, both indicted and
unindicted, committed, among others, overt acts in the Middle District
of Pennsylvania and elsewhere, including but not limited to the conduct
alleged in Counts 2 through 17.

Allin violation of Title 21, United States Code, Sections 846,
841(a)(1) and 841(b)(1){A).

Before the defendant, RODNEY MCMILLIAN, committed the
offense charged in this count, the defendant, RODNEY MCMILLIAN,
was convicted of a serious drug felony under Title 35 of the
Pennsylvania Consolidated Statutes, Section 780-113(a)(30) in the
Dauphin County Court of Common Pleas, for which he served more
than 12 months of imprisonment and for which he was released from
serving any term of imprisonment related to the offense within 15 years
of the commencement of the instant offense.

Before the defendant, DEVONTE BETTS, committed the offense

charged in this count, the defendant, DEVONTE BETTS, was

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 3 of 23

convicted of a serious drug felony under Title 21 United States Code,
Section 841(a) in the United States District Court for the Middle
District of Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 2
21 U.S.C. § 841(a)()
(Distribution of a Controlled Substance — Methamphetamine)
On or about August 3, 2022, in Dauphin County, within the
Middle District of Pennsylvania, the defendants,

DEVONTE BETTS and
TYREESE NEALY,

did intentionally and knowingly unlawfully distribute 50 grams and
more of a mixture and substance containing a detectable amount of
Methamphetamine, a Schedule IJ controlled substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(B).

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 4 of 23

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 3
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Methamphetamine)
On or about August 25, 2022, in Dauphin County, within the
Middle District of Pennsylvania, the defendant,
DEVONTE BETTS,
did knowingly and intentionally possess with intent to distribute 50
grams and more of methamphetamine, a Schedule II controlled
substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).
Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 5 of 23

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 4
21 U.S.C. § 841(a)()
(Distribution of a Controlled Substance —- Methamphetamine)
On or about September 22, 2022, in Dauphin County, within the
Middle District of Pennsylvania, the defendant,
DEVONTE BETTS,
did knowingly and intentionally possess with intent to distribute 50

grams and more of methamphetamine, a Schedule IT controlled

substance.
Allin violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A).

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 6 of 23

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 5
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Methamphetamine)
On or about October 20, 2022, in Dauphin County, within the
Middle District of Pennsylvania, the defendants,

DEVONTE BETTS and
LAMARR WATERS,

did knowingly and intentionally possess with intent to distribute 50
grams and more of methamphetamine, a Schedule II controlled

substance.

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 7 of 23

All in violation of Title 21, United States Code, Sections 841(a)(1) .
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 6
21 U.S.C. § 841 (a)Q)
(Distribution of a Controlled Substance — Methamphetamine)
On or about November 10, 2022, in Dauphin County, within the
Middle District of Pennsylvania, the defendant,
DEVONTE BETTS,
did knowingly and intentionally possess with intent to distribute 50

grams and more of methamphetamine, a Schedule II controlled

substance.
Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 8 of 23

All in violation of Title 21, United States Code, Sections 841(a)()
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 7
21 U.S.C. § 841(a)Q)
(Distribution of a Controlled Substance — Methamphetamine)
On or about December 14, 2022, in Dauphin County, within the
Middle District of Pennsylvania, the defendants,

DEVONTE BETTS and
LAMARR WATERS,

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 9 of 23

did knowingly and intentionally possess with intent to-distribute 50
erams and more of methamphetamine, a Schedule II controlled
substance.

All in violation of Title 21, United States Code, Sections 841(a)()
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:

COUNT 8
21 U.S.C. § 841(a) 1)
(Distribution of a Controlled Substance — Methamphetamine)

On or about January 11, 2023, in Dauphin County, within the
Middle District of Pennsylvania, the defendants,

DEVONTE BETTS and
9

Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 10 of 23

LAMARR WATERS,
did knowingly and intentionally possess with intent to distribute 50
evams and more of methamphetamine, a Schedule II controlled
substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:
COUNT 9
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Fentanyl)
On or about January 18, 2023, in Dauphin County, within the

Middle District of Pennsylvania, the defendants,
10

Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 11 of 23

LAMARR WATERS and
RODNEY MCMILLIAN,

did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of Fentanyl, a
Schedule II controlled substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(C).

Before the defendant, RODNEY MCMILLIAN, committed the
offense charged in this count, the defendant, RODNEY MCMILLIAN,
was convicted of a serious drug felony under Title 35 of the
Pennsylvania Consolidated Statutes, Section 780-113(a)(30) in the
Dauphin County Court of Common Pleas, for which he served more
than 12 months of imprisonment and for which he was released from
serving any term of imprisonment related to the offense within 15 years

of the commencement of the instant offense.

11

Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 12 of 23

THE GRAND JURY FURTHER CHARGES:

COUNT 10
21 US.C. § 841(a)()
(Distribution of a Controlled Substance — Methamphetamine)

On or about February 9, 2023, in Dauphin County, within the
Middle District of Pennsylvania, the defendants,
DEVONTE BETTS
RODNEY MCMILLIAN and
LAMARR WATERS,
did knowingly and intentionally possess with intent to distribute 50

grams and more of methamphetamine, a Schedule II controlled
substance.

All in violation of Title 21, United States Code, Sections 841(a)()
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of

imprisonment and for which he was released from serving any term of

12

Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 13 of 23

imprisonment related to the offense within 15 years of the:
commencement of the instant offense.

Before the defendant, RODNEY MCMILLIAN, committed the
offense charged in this count, the defendant, RODNEY MCMILLIAN,
was convicted of a serious drug felony under Title 35 of the
Pennsylvania Consolidated Statutes, Section 780-113(a)(80) in the
Dauphin County Court of Common Pleas, for which he served more
than 12 months of imprisonment and for which he was released from
serving any term of imprisonment related to the offense within 15 years

of the commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:

COUNT 11
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Fentanyl)

On or about February 9, 2023, in Dauphin County, within the
Middle District of Pennsylvania, the defendants,
DEVONTE BETTS

RODNEY MCMILLIAN and
LAMARR WATERS,

13

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 14 of 23

did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of Fentanyl, a
Schedule IT controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(C).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the
commencement of the instant offense.

Before the defendant, RODNEY MCMILLIAN, committed the
offense charged in this count, the defendant, RODNEY MCMILLIAN,
was convicted of a serious drug felony under Title 35 of the
Pennsylvania Consolidated Statutes, Section 780-113(a)(30) in the
Dauphin County Court of Common Pleas, for which he served more

than 12 months of imprisonment and for which he was released from

14

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 15 of 23

serving any term of imprisonment related to the offense within 15 years

of the commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:

COUNT 12
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Methamphetamine)

On or about March 9, 2023, in Dauphin County, within the Middle
District of Pennsylvania, the defendants,

DEVONTE BETTS and
LAMARR WATERS,

did knowingly and intentionally possess with intent to distribute 50
grams and more of methamphetamine, a Schedule II controlled
substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of

Pennsylvania, for which he served more than 12 months of

15

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 16 of 23

imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:

COUNT 138
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Fentanyl)

On or about March 9, 2023, in Dauphin County, within the Middle
District of Pennsylvania, the defendants,

DEVONTE BETTS and
LAMARR WATERS,

did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of Fentanyl, a
Schedule IT controlled substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(C).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section

841(a) in the United States District Court for the Middle District of

16

Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 17 of 23

Pennsylvania; for which he served more than 12 months of .
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

THE GRAND JURY FURTHER CHARGES:

COUNT 14
21 U.S.C. § 841(a)()
(Distribution of a Controlled Substance — Fentanyl)

On or about April 6, 2023, in Dauphin County, within the Middle
District of Pennsylvania, the defendant,
LAMARR WATERS,
did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of Fentanyl, a
Schedule II controlled substance.
All in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(C).

17
Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 18 of 23

THE GRAND JURY FURTHER CHARGES: =...

COUNT 15
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance — Methamphetamine)

On or about May 10, 2023, in Dauphin County, within the Middle

District of Pennsylvania, the defendants,

DEVONTE BETTS and
LAMARR WATERS,

did knowingly and intentionally possess with intent to distribute 50
erams and more of methamphetamine, a Schedule II controlled
substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(A).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

18

Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 19 of 23

THE GRAND JURY FURTHER CHARGES: -

COUNT 16
21 U.S.C. § 841(a)()
(Distribution of a Controlled Substance — Fentanyl)

On or about May 10, 2023, in Dauphin County, within the Middle
District of Pennsylvania, the defendants,

DEVONTE BETTS and
LAMARR WATERS,

did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of Fentanyl, a
Schedule IT controlled substance.

Allin violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)()(C).

Before the defendant, DEVONTE BETTS, committed the offense
charged in this count, the defendant, DEVONTE BETTS, was convicted
of a serious drug felony under Title 21 United States Code, Section
841(a) in the United States District Court for the Middle District of
Pennsylvania, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to the offense within 15 years of the

commencement of the instant offense.

19
Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 20 of 23

THE GRAND JURY FURTHER CHARGES: |

COUNT 17
18 U.S.C. § 933(a)(1)
(Trafficking Firearms)

Beginning on or about October 20, 2022, up to and including
January 18, 2028, in Dauphin County, in the Middle District of
Pennsylvania, and elsewhere, the defendants,

DEVONTE BETTS
RODNEY MCMILLIAN and
LAMARR WATERS,

did ship, transport, transfer, cause to be transported, or otherwise
dispose of firearms, to wit:

e Armscor, Model: 206, .88 Caliber bearing S/N: RIA2357720

Ruger, Model: SP101, .357 caliber bearing S/N: 575-08271

Ruger, Model: 9E, 9mm caliber bearing S/N: 335-56439

WWI, Model: WW-15, multi caliber bearing S/N: WW261209

HS Produkt, Model: XD40 Sub-Compact bearing S/N: XD339271
Glock, Model: 43X, 9mm caliber bearing S/N: BUTK481

CZ, Model: Scorpion EVO 3 S1, 9mm caliber bearing S/N: C400597

eo e@8068|60606m80hUODmUlClCU

to an undercover law enforcement agent, in or otherwise affecting
commerce, knowing or having reasonable cause to believe that the use,
carrying, or possession of the firearm by undercover law enforcement
agent would constitute a felony, or did attempt or conspire to do so.

All in violation of Title 18, United States Code, Section 933(a)(1)

20

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 21 of 23

and 933(a)(3). |

THE GRAND JURY FURTHER FINDS PROBABLE CAUSE:

FORFEITURE ALLEGATION

1. The allegations contained in Counts 1 through 17 of this
Indictment are hereby re-alleged and incorporated by reference for the
purpose of alleging forfeitures pursuant to Title 21, United States Code,
Section 853; Title 18, United States Code, Section 924(d); and Title 28,
United States Code, Section 2461(c).

2. Upon conviction of the offenses in violation of Title 21,
United States Code, Section 841(a)(1) and 846, and Title 18, United
States Code, Sections 933(a)(1) set forth in Counts 1 through 17 of this

Indictment, the defendants,

DEVONTE BETTS,
LAMARR WATERS,
RODNEY MCMILLIAN, and
TYREESE NEALY,
shall forfeit to the United States pursuant to Title 21, United States
Code, Section 853: Title 18, United States Code, Section 924(d); and
Title 28, United States Code, Section 2461(c), any property constituting,

or derived from, any proceeds obtained, directly or indirectly, as the

21

Case 1:23-cr-00153-CCC Document1 Filed 06/07/23 Page 22 of 23

result of such offenses; any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of, the

offenses; and any firearms and ammunition involved in the commission

of the offenses. The property to be forfeited includes, but is not lmited

_ to the following seized firearms:

Armscor, Model: 206, .38 Caliber bearing S/N: RIA2357720
Ruger, Model: SP101, .357 caliber bearing S/N: 575-03271

Ruger, Model: 9E, 9mm caliber bearing S/N: 335-564389

WWI, Model: WW-15, multi caliber bearing S/N: WW261209

HS Produkt, Model: XD40 Sub-Compact bearing S/N: XD339271
Glock, Model: 43X, 9mm caliber bearing S/N: BUTK481

CZ, Model: Scorpion EVO 3 $1, 9mm caliber bearing S/N: C400597

3.  Ifany of the property described above, as a result of any act

or omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence:

has been transferred or sold to, or deposited with, a
third party;

has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot
be divided without difficulty,

a2
Case 1:23-cr-00153-CCC Document 1 Filed 06/07/23 Page 23 of 23

the United States of America shall be entitled to forfeiture of substitute
property pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).

All pursuant to Title 18, United States Code, Section 924(d), Title
28, United States Code, Section 2461(c), and Title 21, United States
Code, Section 853.

A TRUE BILL

}

GERARD M. KARAM a

United States Attorney FOREPERSON|

hiefy) LK 6 [2 rors

PAUL J. MTOVAS, Date
Assistant United iB, % Attorney

23

